DocuSign Envelope ID: 7B06785E-090F-4983-89FF-C44A028A3B03
                     Case 21-11855               Doc 1        Filed 10/18/21 Entered 10/18/21 12:41:48                         Desc Main
                                                                 Document    Page 1 of 8
     Fill in this information to identify your case:

         United States Bankruptcy Court for the:

         ____________________  District of _________________
         Northern District of Illinois       (State)
         Case number (If known): _________________________ Chapter you are filing under:
                                                                    Chapter 7
                                                                 
                                                                 ✔   Chapter 11
                                                                    Chapter 12
                                                                    Chapter 13                                                Check if this is an
                                                                                                                                  amended filing


    Official Form 101
    Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

    The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
    joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Pa rt 1 :     I de nt ify Yourse lf

                                            About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    1.    Your full name
           Write the name that is on your
           government-issued picture
                                             Darlyn
                                            __________________________________________________           __________________________________________________
           identification (for example,     First name                                                   First name
           your driver’s license or          H.
                                            __________________________________________________           __________________________________________________
           passport).                       Middle name                                                  Middle name

           Bring your picture                Turner
                                            __________________________________________________           __________________________________________________
           identification to your meeting   Last name                                                    Last name
           with the trustee.                 Ms.
                                            ___________________________                                  ___________________________
                                            Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                            Darlyn Hopson Turner
    2.    All other names you
          have used in the last 8
          years
           Include your married or
           maiden names.




    3.    Only the last 4 digits of                           4    9    8    4
          your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
          number or federal                 OR                                                           OR
          Individual Taxpayer
          Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
          (ITIN)


          Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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    Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                    First Name   Middle Name               Last Name




                                               About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


    4.   Any business names
         and Employer                          
                                               ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
         Identification Numbers
         (EIN) you have used in                _________________________________________________                 _________________________________________________
         the last 8 years                      Business name                                                     Business name

         Include trade names and
                                               _________________________________________________                 _________________________________________________
         doing business as names               Business name                                                     Business name



                                               _________________________________________________                 _________________________________________________
                                               EIN                                                               EIN

                                               _________________________________________________                 _________________________________________________

                                               EIN                                                               EIN



    5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                               1024 Carolina Court                                               _________________________________________________
                                               _________________________________________________
                                               Number     Street                                                 Number     Street


                                               _________________________________________________                 _________________________________________________


                                               Naperville                              IL
                                               _________________________________________________
                                                                                                 60565           _________________________________________________
                                               City                            State   ZIP Code                  City                            State   ZIP Code

                                               Will County                                                       _________________________________________________
                                               _________________________________________________
                                               County                                                            County


                                               If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                               above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                               any notices to you at this mailing address.                       any notices to this mailing address.


                                               _________________________________________________                 _________________________________________________
                                               Number     Street                                                 Number     Street

                                               _________________________________________________                 _________________________________________________
                                               P.O. Box                                                          P.O. Box

                                               _________________________________________________                 _________________________________________________
                                               City                            State   ZIP Code                  City                            State   ZIP Code




    6.   Why you are choosing                  Check one:                                                        Check one:
         this district to file for
         bankruptcy                            
                                               ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                     have lived in this district longer than in any other           have lived in this district longer than in any other
                                                     district.                                                      district.

                                                I have another reason. Explain.                                  I have another reason. Explain.
                                                     (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




         Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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    Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                     First Name   Middle Name             Last Name




    Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


    7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
          Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
          are choosing to file
          under
                                                 Chapter 7
                                                
                                                ✔ Chapter 11


                                                 Chapter 12
                                                 Chapter 13

    8.    How you will pay the fee              
                                                ✔
                                                  I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                   local court for more details about how you may pay. Typically, if you are paying the fee
                                                   yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                   submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                   with a pre-printed address.

                                                 I need to pay the fee in installments. If you choose this option, sign and attach the
                                                   Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                                   pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                   Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


   9.     Have you filed for         
                                     ✔ No
          bankruptcy within the
          last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                   District ____________________________________________ When ______________ Case number __________________


                                                   District ____________________________________________ When ______________ Case number __________________




    10.   Are any bankruptcy              ✔ No
          cases pending or being
          filed by a spouse who is         Yes.
          not filing this case with
          you, or by a business
          partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
          affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                     Debtor _________________________________________________                         R elationship to you ___________________________

                                     District _______________________________________________ When _______________ Case number, if known__________________


    11.   Do you rent your                      
                                                ✔ No.    Go to line 12.
          residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                             No. Go to line 12.
                                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                              this bankruptcy petition.




          Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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    Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                     First Name       Middle Name             Last Name




    Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


    12.   Are you a sole proprietor                 
                                                    ✔ No. Go to Part 4.
          of any full- or part-time
          business?                                  Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an                         _______________________________________________________________________________________
                                                             Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or                     _______________________________________________________________________________________
                                                             Number    Street
          LLC.
          If you have more than one
                                                             _______________________________________________________________________________________
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.                                  _______________________________________________        _______      __________________________
                                                              City                                                  State        ZIP Code


                                                             Check the appropriate box to describe your business:
                                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                                None of the above

                                                    If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
          Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
          Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
          are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
          debtor or a debtor as
                                                     No.    I am not filing under Chapter 11.
          defined by 11 U.S. C. §
          1182(1)?                                  
                                                    ✔ No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                             the Bankruptcy Code.
          For a definition of small
          business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
          11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                     Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                       Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

    Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
    14.   Do you own or have any                    
                                                    ✔ No
          property that poses or is
          alleged to pose a threat                   Yes.    What is the hazard?
          of imminent and
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs
                                                              If immediate attention is needed, why is it needed?
          immediate attention?
          For example, do you own
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                              Where is the property?




          Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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                    First Name     Middle Name             Last Name




    Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                                 About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
    15.   Tell the court whether
          you have received a
          briefing about credit                  You must check one:                                                You must check one:
          counseling.
                                                 
                                                 ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                    counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
          receive a briefing about credit           certificate of completion.                                         certificate of completion.
          counseling before you file for
                                                    Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
          bankruptcy. You must
                                                    plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
          cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                    certificate of completion.                                         certificate of completion.
          If you file anyway, the court
                                                    Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                                    you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                                    plan, if any.                                                      plan, if any.
          you paid, and your creditors
          can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
          again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                    unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                    days after I made my request, and exigent                          days after I made my request, and exigent
                                                    circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                    of the requirement.                                                of the requirement.
                                                    To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                    requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                    what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                    you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                    bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                    required you to file this case.                                    required you to file this case.
                                                    Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                    dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                    briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                    If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                    still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                    You must file a certificate from the approved                      You must file a certificate from the approved
                                                    agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                    developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                    may be dismissed.                                                  may be dismissed.
                                                    Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                    only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                    days.                                                              days.

                                                  I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                    credit counseling because of:                                      credit counseling because of:

                                                     Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                       deficiency that makes me                                           deficiency that makes me
                                                                       incapable of realizing or making                                   incapable of realizing or making
                                                                       rational decisions about finances.                                 rational decisions about finances.
                                                     Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                       to be unable to participate in a                                   to be unable to participate in a
                                                                       briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                       through the internet, even after I                                 through the internet, even after I
                                                                       reasonably tried to do so.                                         reasonably tried to do so.
                                                     Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                       duty in a military combat zone.                                    duty in a military combat zone.
                                                    If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                    briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                    motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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    Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                     First Name     Middle Name             Last Name




    Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                                  16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
          you have?
                                                          No. Go to line 16b.
                                                       
                                                       ✔   Yes. Go to line 17.

                                                  16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                       money for a business or investment or through the operation of the business or investment.
                                                          No. Go to line 16c.
                                                          Yes. Go to line 17.

                                                  16c. State the type of debts you owe that are not consumer debts or business debts.
                                                       _______________________________________________________________

    17.   Are you filing under
          Chapter 7?                              
                                                  ✔ No.    I am not filing under Chapter 7. Go to line 18.

          Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                                        No
          administrative expenses
          are paid that funds will be                         Yes
          available for distribution
          to unsecured creditors?

    18.   How many creditors do                   
                                                  ✔ 1-49                                      1,000-5,000                            25,001-50,000
          you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
          owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                                   200-999
    19.   How much do you                          $0-$50,000                               
                                                                                             ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
          estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
          be worth?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                   $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
    20.   How much do you                          $0-$50,000                               
                                                                                             ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
          estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
          to be?                                   $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                                   $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
    Pa rt 7 :      Sign Be low

                                                  I have examined this petition, and I declare under penalty of perjury that the information provided is true and
    For you                                       correct.
                                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                  of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                  under Chapter 7.
                                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                  this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                  with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                  18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                                    ______________________________________________               _____________________________
                                                     Signature of Debtor 1                                            Signature of Debtor 2

                                                                        10/18/2021
                                                     Executed on _________________                                    Executed on __________________
                                                                        MM   / DD   / YYYY                                          MM / DD     / YYYY




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                    First Name     Middle Name             Last Name




                                                 I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
    For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
    represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                 the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
    If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
    by an attorney, you do not
    need to file this page.
                                                 _________________________________                                  Date          _________________
                                                                                                                                    10/18/2021
                                                    Signature of Attorney for Debtor                                               MM     /    DD / YYYY



                                                      Karen Porter
                                                    _________________________________________________________________________________________________
                                                    Printed name

                                                      Porter Law Network
                                                    _________________________________________________________________________________________________
                                                    Firm name

                                                     230 West Monroe
                                                    _________________________________________________________________________________________________
                                                    Number Street

                                                     Suite 240
                                                    _________________________________________________________________________________________________

                                                     Chicago                                                         IL             60606
                                                    ______________________________________________________ ____________ ______________________________
                                                    City                                                    State        ZIP Code




                                                    Contact phone 312-372-4400
                                                                  ______________________________         Email address
                                                                                                                          porterlawnetwork@gmail.com
                                                                                                                          _________________________________________



                                                     6188626                                                         IL
                                                    ______________________________________________________ ____________
                                                    Bar number                                              State




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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIVISION

                   In re:                                    ) Case No.
                                                             )
                            Darlyn H. Turner                 ) Chapter
                                                             )
                   Debtor                                    ) Judge

                                                     LIST OF CREDITORS

          Capital One Bank USA
          P.O. Box 31293
          Salt Lake City, UT 84131

          David Universal, LLC
          517 Roper Parkway
          Ocoee, FL 34761

          Department of the Treasury
          P.O. Box 7346
          Philadelphia, IL 19101-7346

          First National Bank of Brookfield
          9136 Washington Avenue
          Brookfield, IL 60513

          Illinois Department of Revenue
          Bankruptcy Section
          P.O. Box 64338
          Chicago, IL 60664-0338

          The Colins Law Firm
          1770 Park Street
          Suite 200
          Naperville, IL 6056

          Karen J. Porter
          PORTER LAW NETWORK
          230 West Monroe, Suite 240
          Chicago, IL 60606
          (312) 372-4400
          Fax (312) 372-4160
          Atty No 6188626
